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                                                         THE HONORABLE JOHN C. COUGHENOUR
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                                    UNITED STATES DISTRICT COURT
 7
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE

 9    MICHAEL E. WITHEY and                                  CASE NO. C18-1635-JCC
      SHARON MAEDA,
10
                                                             MINUTE ORDER
11                               Plaintiffs,
                v.
12
      FEDERAL BUREAU OF INVESTIGATION
13    (FBI),
14                               Defendant.
15

16          The following Minute Order is made by direction of the Court, the Honorable John C.
17   Coughenour, United States District Judge:
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            This matter comes before the Court on the parties’ stipulated motion regarding pretrial
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     and trial deadlines (Dkt. No. 106). Having considered the motion and the relevant record and
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     finding good cause, the Court hereby GRANTS the motion in part. The Court ORDERS as
21
     follows:
22                   1. The October 26, 2020 bench trial and remaining pretrial deadlines
                        are STRICKEN. Unless the Court’s disposition of the pending
23                      motions for summary judgment renders a trial unnecessary, the
                        parties are ORDERED to file a joint status report within 21 days of
24                      the Court’s resolution of the pending summary judgment motions
                        addressing: (1) a proposed trial date, (2) whether the parties are
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                        willing to proceed with a remote bench trial, and (3) whether the
26                      parties are willing to proceed before a Magistrate Judge.


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             2. The parties are ORDERED to submit additional briefing regarding
 1              Plaintiffs’ request for an Agreed and Disputed Statement of Facts.
 2              The supplemental briefing shall address the FBI’s supplemental
                productions and the parties’ views on whether and how an Agreed
 3              and Disputed Statement of Facts will assist the Court in deciding the
                pending summary judgment motions.
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                Plaintiffs shall file an opening brief of no more than four pages by
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                September 18, 2020. Defendant shall respond with a brief of no
 6              more than four pages by September 25, 2020. Plaintiff may submit
                an optional reply of no more than two pages by September 30, 2020.
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             3. The Court takes Plaintiffs’ request for oral argument under
 8              advisement. In accordance with Local Rule 7(b)(4), if a request for
                oral argument is granted, the clerk will notify the parties of the date,
 9
                time, and medium for argument.
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11        DATED this 14th day of September 2020.

12                                                        William M. McCool
                                                          Clerk of Court
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                                                          s/Tomas Hernandez
14                                                        Deputy Clerk
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